Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 1 of 11 Page|D #:34 66

INTHE F|LED

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS APR l 4 2 fm

EASTERN DIVIsIoN JU pit ,@ iq Zoi k
DGE HARRvo LE:N
. EN
u.s. DlsTRlcT couRT Jl‘ihi/:)EGBEER

NO. 10 CR 700

UNITED STATES OF AMERICA

v.
1 Hon. Harry D. Leinenweber
BYRON LANE

\_/\/\_/\./\/\_/

PLEA DECLARATION

Defendant, BYRON LANE, after extensive consultation With his attorney,
l\/IIANGEL C. CC)DY, acknowledges and states the following:

1. Mr. Lane has been indicted With using an interstate
facility With the intent that murder be committed, in violation of Title 18, United
States Code, Section 1958(a) (Counts One through Three), and With being a felon in
possession of a firearm, in violation of Title 18, United States Code, Section 922(g)(1)
(Count Four). The indictment also contains a forfeiture allegation.

2. Mr. Lane has read the charges against him contained in the indictment,
and those charges have been fully explained to him by his attorney.

3. Mr. Lane fully understands the nature and elements of the crimes With

Which he has been charged.

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 2 of 11 Page|D #:35

Factual Basis

4. Mr. Lane agrees to enter a voluntary plea of guilty to the following counts
of the indictment Count One, which charges him with using an interstate facility with
the intent that murder be committed, in violation of Title 18, United States Code, Section
1958(a); and Count Four, which charges defendant with being a felon in possession of a
firearm, in violation of Title 18, United States Code, Section 922(g)(1). In pleading guilty,
defendant admits the following facts and that those facts establish his guilt beyond a
reasonable doubt:

a. Factual Basis as to Count One:

Mr. Lane admits that he was the target of a government sting operation in which
an undercover law enforcement officer initiated contact with him (Lane) and solicited
Lane to murder a fictitious rival gang member. More specifically, on August 5, 2010,
Lane met with an individual who, unbeknownst to him, was an undercover law
enforcement officer (the ”UC"). During the meeting, the UC told Lane that he (the UC)
was running low on guns and had been ”having problems” with rival gang members.
The UC told Lane that he had heard that Lane might be able to help him out with his
rivals. Lane acknowledged that he understood the UC to be asking Lane to murder a
rival gang member. Lane agreed to commit the murder of the UC’s rival gang member,

in exchange for $1,200 and transportation to the murder. Unbeknownst to Lane, the UC

 

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 3 of 11 Page|D #:36

was a government agent, and the Individual A (the purported murder target) was
fictitious.

Then, on August 12, 2010, at approximately 5:03 p.m., the UC had a telephone
conversation with Lane, who was using a cellular telephone operated on the Cricket
network (the ”Cricket phone"). During this conversation, the UC indicated that he
wanted Individual A’s murder to occur the following week. Lane agreed to perform the
murder. Also during the conversation, the UC gave Lane the purported name of the
proposed victim, Individual A, and the UC and Lane discussed the logistics of the
murder.

Based upon these facts, Mr. Lane admits that on or about August 12, 2010, at
approximately 5:03 p.m., in the Northern District of Illinois, Eastern Division, and
elsewhere, he knowingly used a facility of interstate commerce, namely, a cellular
telephone operated by Cricket, a cellular telephone service provider operating
in interstate commerce, with the intent that a murder be committed, in violation of the
laws of the State of Illinois, namely, the murder of fictitious Individual A, as
consideration for a promise and agreement to pay a thing of pecuniary value, namely,
approximately $1,200 in United States Currency, in violation of Title 18, United States

Code, Section 1958(a).

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 4 of 11 Page|D #:37

b. Factual Basis as to Count Four:

On or about August 19, 2010, in the Northern District of Illinois, Eastern Division,
Mr. Lane, previously having been convicted of a crime punishable by imprisonment for
a term exceeding one year, did knowingly possess in and affecting interstate commerce
a firearm, namely, a Beretta model 92, 9mm caliber pistol, bearing serial number
BER004497Z, which firearm had traveled in interstate commerce prior to defendants
possession of the firearm, in violation of Title 18, United States Code, Section 922(g)(l).

More specifically, on August 19, 2010, Lane had a Beretta pistol on his person
when he met with the UC in the UC’s vehicle. During the meeting, Lane pulled from his
waistband area a Beretta model 92, 9mm caliber pistol, bearing serial number
BER004497Z. Shortly thereafter, Lane handed the Beretta pistol to the UC, who placed
the firearm in a storage area of the vehicle.

Mr. Lane further admits that, prior to August 19, 2010, he had been convicted of
a felony offense, punishable by imprisonment for a term exceeding one year. In
addition, Lane acknowledges that the evidence at trial would show the Beretta model 92
firearm was manufactured in Italy, and thus had traveled in interstate commerce prior
to the time that he possessed it.

Maximum Statutorv Penalties

5. Mr. Lane understands that the charges to which he is pleading guilty carry

t

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 5 of 11 Page|D #:38

the following statutory penalties:

a. Count One carries a maximum sentence of 10 years’ imprisonment
Count One also carries a maximum fine of $250,000. Mr. Lane further understands
that with respect to Count One the court also may impose a term of supervised release
of not more than three years.

b. Count Four carries a maximum sentence of 10 years’ imprisonment
Count Four also carries a maximum fine of $250,000, Defendant further understands
that With respect to Count Four, the judge also may impose a term of supervised
release of not more than three years.

c. In accord with Title 18, United States Code, Section 3013,

Mr. Lane understands that he will be assessed $100 on each count to which he has pled
guilty, in addition to any other penalty imposed.

d. Therefore, under the counts to which defendant is pleading guilty,
the total maximum sentence is 20 years’ imprisonment In addition, Mr. Lane is
subject to a total maximum fine of $500,000, a period of supervised release, and special
assessments totaling $200.

Guidelines Calculations
6. Mr. Lane understands that in imposing sentence the Court will be guided

by the United States Sentencing Guidelines. The Sentencing Guidelines to be applied in

 

 

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 6 of 11 Page|D #:39

this case are those in effect at the time of sentencing Mr. Lane understands that the
Sentencing Guidelines are advisory, not mandatory, and that the Guidelines are only
one of several factors listed under Title 18, United States Code, Section 3553(a). Mr.
Lane understands that the Court must consider the Guidelines in determining a
reasonable sentence that is "sufficient, but not greater than necessary" to comply with
the statutory goals of sentencing He understands that the Probation Department will
conduct its own investigation, that the Court ultimately determines the facts and law
relevant to sentencing and that the Court’s determinations govern the final advisory
guideline calculation.

7. Mr. Lane understands that the government may take the position that his
advisory guideline range is 108 to 135 months’ imprisonment, based on an adjusted
offense level of 29 and a criminal history category III.

8. Errors in calculations or interpretation of any guidelines or laws may be
corrected or amended by Mr. Lane prior to sentencing He may correct these errors or
misinterpretations by a statement to the probation office or court setting forth the '
disagreement as to the correct guidelines or laws and their application Specifically, Mr.
Lane reserves the right to disagree with the government's guidelines calculation. Mr.
Lane also reserves the right to object to the Probation Office's guidelines calculation.

9. Mr. Lane reserves the right to request a downward departure or variance

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 7 of 11 Page|D #:40

from the applicable guideline range on any grounds he deems appropriate Specifically,
Mr. Lane intends to seek a sentence that is below the advisory guideline range. The
reasons will be discussed in a sentencing memorandum that will be filed with the Court
after receiving the presentence investigation report and prior to the sentencing hearing.
Mr. Lane understands that any decision to depart or vary from the applicable
guidelines lies solely within the discretion of the Court.

Trial Rights and Appellate Rights

10. Mr. Lane understands that by pleading guilty he surrenders certain rights,
including the following:

(a) If defendant persisted in a plea of not guilty to the charge against her, he
would have the right to a public and speedy trial. The trial could be either a jury trial or
a trial by the judge sitting without a jury. The defendant has a right to a jury trial.
However, in order that the trial be conducted by the judge sitting without a jury, the
defendant, the government and the judge all must agree that the trial be conducted by
the judge without a jury.

(b) If the trial is a jury trial, thejury would be composed of twelve laypersons
selected at random. Defendant and his attorney would have a say in who the jurors
would be by removing prospective jurors for cause where actual bias or other

disqualification is shown, or without cause by exercising so-called peremptory

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 8 of 11 Page|D #:41

challenges The jury would have to agree unanimously before it could return a verdict
of either guilty or not guilty. The jury would be instructed that defendant is presumed
innocent, and that it could not convict his unless, after hearing all the evidence, it was
persuaded of defendant's guilt beyond a reasonable doubt, and that it was to consider
each count of the indictment separately

(c) If the trial is held by the judge without a jury, the judge would find the
facts and determine, after hearing all the evidence, and considering each count
separately, whether or not he was persuaded of defendant's guilt beyond a reasonable
doubt.

(d) At a trial, whether by a jury or a judge, the government would be required
to present its witnesses and other evidence against defendant Defendant would be able
to confront those government Witnesses and his attorney would be able to
cross-examine them. In turn, defendant could present witnesses and other evidence in
his own behalf. He would be_under no obligation to do so, however, because he is
presumed to be innocent and thus need not prove his innocence. If the witnesses for
defendant would not appear voluntarily, he could require their attendance through the
subpoena power of the court.

(e) At a trial, defendant would have a privilege against self-incrimination so
a that he could decline to testify, and no inference of guilt could be drawn from his

refusal to testify. If defendant desired to do so, he could testify in his own behalf

 

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 9 of 11 Page|D #:42

11. Mr. Lane understands that by pleading guilty he is waiving all the rights
set forth in the prior paragraph. By pleading guilty, Mr. Lane admits he is guilty and
agrees that he should be found guilty, Mr. Lane's attorney has explained these rights to
him, and the consequences of his waiver of these rights. Mr. Lane further understands
that he is waiving all appellate issues that might have been available if he had exercised
his right to trial,

Limitations and Conseguences of this Plea Declaration

12. Mr. Lane understands that this plea declaration and accompanying plea
resolve only Count One and Count Four of the indictment lt is Mr. Lane's profound
(and hopefully realistic) hope that the government will choose to dismiss Count Two
and Count Three at the time of his sentencing but no binding or formal agreement
exists between the parties to that effect. By this plea, Mr. Lane knowingly waives and
forfeits any and all speedy trial objections or issues with respect to the remaining counts
which might arise concerning a delay of resolution of those counts until the time of
sentencing on Counts One and Four.

13. Mr. Lane understands that the United States Attorney's Office will inform
the District Court and the United States Probation Office of the nature, scope, and
extent of his conduct regarding these charges and related matters, including matters in
aggravation and relevant to the issue of sentencing Mr. Lane further understands that

he will be able to present evidence in mitigation of his sentence.

 

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 10 of 11 Page|D #:43

14. Mr. Lane understands that at the time of sentencing the government and
the defendant will be free to make their respective recommendations to the Court as
they deem appropriate

15. Mr. Lane understands that the sentencing guidelines are no longer
mandatory, and that this Court’s decision as to what sentence constitutes a sentence
”sufficient, but not greater than necessary" to comply with the purposes set forth in 18
U.S.C. § 3553(a) may result in a sentence either within, greater, or less than the
applicable sentencing guideline range. Mr. Lane understands that the applicable
sentencing guideline range is one factor which this Court is required to take into
consideration under 18 U.S.C. § 3553(a)(4), along with the other required factors under
§ 3553(a). Mr. Lane understands that, should the Court impose a sentence that is either
within, greater, or less than the applicable sentencing guideline range, he Will have no
right to withdraw his guilty plea.

16. Should this Court refuse to accept Mr. Lane's plea of guilty, this Plea
Declaration shall become null and void and defendant will not be bound thereto. It is
the defendant's position that, Should the Court`decline to accept his plea, this Plea
Declaration and the ensuing court proceedings are inadmissible in later court
proceedings pursuant to Federal Rule of Evidence 410.

17. Mr. Lane agrees that this Plea Declaration shall be filed and become part

of the record of the case.

10

 

Case: 1:10-cr-OO7OO Document #: 21 Filed: 04/14/11 Page 11 of 11 Page|D #:44

18. Mr. Lane and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, to induce him to plead guilty.
Mr. Lane further acknowledges that he has read this Plea Declaration and carefully

reviewed each provision With his attorney.

Signed this L¢# day of April, 2011

élv-%-

Byer/Cane, Defendant

FEDERAL DEFENDER PROGRAM
Carol A. Brook,

Executive Di o
By: {&<:/\ FEDERAL DEFENDER PROGRAM

MiAagei.c.c€dy 55 least Menree street suite 2800
Counselfor Byron Lane Chicago, IL 60603 (312) 621-8348

ll

 

